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     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

     In re:                                                )           Chapter 11
                                                           )
     MIAMI METALS I, INC., et al.,1                        )           Case No. 18-13359 (SHL)
                                                           )
                                Debtors.                   )           Jointly Administered
                                                           )

                SECOND AMENDED ORDER APPROVING UNIFORM PROCEDURES
                        FOR RESOLUTION OF OWNERSHIP DISPUTES


              This matter came on to be heard at the hearing held on 19th day of December, 2018, on the

 Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Use Cash

 Collateral, (II) Granting Adequate Protection to the Secured Parties, (III) Scheduling a Final

 Hearing and (IV) Granting Related Relief (the “Motion”); and the Court having conducted interim

 hearings on the Motion on November 6 2018, November 29, 2018, and December 19, 2018, and

 having conducted status conferences related thereto; and the Court having reviewed the Motion,

 responses, and the file, having heard argument of counsel, and having determined that it is in the

 best interests of the Debtors’ estates, creditors, and interested parties for the Court to approve a

 uniform procedure to resolve disputes (the “Ownership Disputes”) concerning whether certain




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites
 206 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW
 38th Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company, LLC), 5295
 Northwest 163rd Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC),
 12900 NW 38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW
 38th Avenue, Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue,
 Miami, FL 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054
 (4696); Miami Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054
 (6102); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001
 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro
 Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).



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 materials, products, goods held in tolling accounts and pool accounts, and the proceeds and profits

 thereof delivered to, transferred to, or in the possession or control of the Debtors prior to/on/as of

 the Petition Date (the “Assets”), excluding carbon materials ( and the products, proceeds, and

 profits of carbon materials), are property of the Debtors’ bankruptcy estates or that of the Debtors’

 customers and/or suppliers (the “Customers”); and the Court being fully advised in the premises

          ORDERS AND ADJUDGES:

          1.     Jurisdiction and Power: The Debtors, Senior Lenders,2 and Customers who file

 a Customer Statement (as defined below) pursuant to this Order agree (a) to the resolution in the

 Bankruptcy Court pursuant to the procedures set forth in this Order of the sole issue of the

 Ownership Disputes regarding the Assets and (b) that the procedures shall be governed by Federal

 Rule of Bankruptcy Procedure 9014, except to the extent modified below. Nothing contained

 herein shall be construed as a waiver of any party’s appellate rights which shall be deemed

 preserved. In the event that these cases are converted into a Chapter 7 proceeding or a Chapter 11

 trustee is appointed, these procedures will continue to govern and shall be binding on any Chapter

 7 or Chapter 11 trustee with respect to Ownership Dispute.




 2
  "Senior Lenders" shall mean Coöperatieve Rabobank U.A., New York Branch, Brown Brothers Harriman & Co.,
 Bank Hapoalim B.M., Mitsubishi International Corporation, ICBC Standard Bank Plc, Techemet Metal Trading
 LLC, Woodforest National Bank and Bank Leumi USA.


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          2.    Customer Statement of Claimed Ownership Interest And Claims: (a) On or

 about November 21, 2018, certain Customers filed objections to the Debtors’ Motion for Entry of

 Interim and Final Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting

 Adequate Protection the Secured Parties, (III) Scheduling a Final Hearing and (IV) Granting

 Related Relief (the “Cash Collateral Motion”) [Docket No. 10] (together with all objections or

 responses to the Cash Collateral Motion filed by any Customers after November 21, 2018,

 collectively, the “Objections”).

                (b) Any Customer asserting an ownership claim over any of the Assets must file a

 Statement of Claimed Ownership And Claims (“Customer Statement”). Customers that filed

 Objections may designate their Objections as constituting their Customer Statements.          The

 Customers shall have through and including January 18, 2019 (the “Statement Deadline”), in

 which to file: i) a designation of their Objection as their Customer Statement (together with any

 amendment or supplement thereto), or ii) their Customer Statement.

                (c) Each Customer Statement shall include the following information:

                        i) The name, address and telephone number of the Customer and counsel

                        for Customer in this matter;

                        ii) A specific description of the Assets in which the Customer claims an

                        ownership interest, including quantity;




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                            iii) A description of all claims that the Customer is aware of as of the date

                            of the Customer Statement against the Debtors including claims arising

                            under Sections 503(b)(9) and 502 of the Bankruptcy Code; provided that

                            such description shall be non-binding and subject to modification and may

                            be supplemented in connection with the Customer’s filing of a proof of

                            claim or request for payment of administrative expenses.3

                            iv) A summary of the legal basis for the Customer’s ownership claim;

                            v) The state or other governing law the Customer contends governs the

                            dispute and the basis for same; and

                            vi) Any additional information deemed relevant by such Customer.

                   (d) The Debtors shall file a response to each Customer Statement on or before

 February 18, 2019 (the “Response Deadline”). Each such response (a “Debtors’ Response”) shall

 include the following information for each Customer Statement:

                            i) The name of the Customer;

                            ii) A specific description of the Assets addressed by such Debtors’

                            Response, which may be the description set forth in the Customer

                            Statement;




 3
   The disclosure of claims is not intended to be a final statement of all claims a Customer may assert and will be
 provided for the purpose of enabling the parties to evaluate settlement options. The Debtors intend to file a motion
 to set a proof of claim bar date. The filing of the Customer Statement shall be without prejudice and in addition to
 the requirement to file a proof of claim. The failure to assert any particular claim in the Customer Statement does
 not preclude a Customer from filing a proof of claim.


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                      iii) The location of the Assets as of (A) the Petition Date and (B) the date

                      of the Debtors’ Response, and, if the Assets are no longer in the Debtors’

                      possession, all information relating to the Debtors’ disposition of the

                      Assets;

                      iv) A summary of the legal basis for the Debtors’ ownership claim,

                      including the legal basis for asserting that the Assets are property of the

                      Debtors’ estates;

                      v) The state or other governing law the Debtors contends governs the

                      dispute and the basis for same;

                      vi) To the best of the Debtors’ ability, a statement including all available

                      information regarding whether the Assets claimed by the Customer (A)

                      were at any time removed or excluded from general inventory and

                      segregated, (B) were commingled with any other Assets, (C) were

                      deposited, held, or accounted for in a pool or tolling account, (D) if either

                      of A, B, or C, the date or dates upon which such removal/exclusion and

                      segregation, commingling, or deposit occurred, and (E) are otherwise

                      identifiable; and,

                      vii) Any additional information deemed relevant by the Debtors.

               (e) The Senior Lenders shall file a response to each Customer Statement on or

 before the Response Deadline. Each such response (“Senior Lenders’ Response”) shall include

 the following information for each Customer Statement:

                      i) The name of the Customer;




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                        ii) A specific description of the Assets addressed by such Senior Lenders’

                        Response which may be the description set forth in the Customer Statement;

                        iii) Copies of documents relied upon by the Senior Lenders for any asserted

                        security interest or lien in the applicable Assets;

                        iv) A summary of the legal basis for the asserted security interest or lien,

                        including the legal basis for asserting that the Assets are property of the

                        Debtors’ estates;

                        v) The state or other governing law the Senior Lenders contend governs the

                        dispute and the basis for same; and,

                        vi) Any additional information deemed relevant by the Senior Lenders.

                 (f) If a Customer fails to file a Customer Statement by the Statement Deadline, the

 Customer’s ownership claim in the Assets shall be deemed waived by the Customer and its

 claim(s) against the Debtors shall be addressed as part of the proof of claim process only. If neither

 the Debtors nor the Senior Lenders file a Response to the claims asserted by a Customer Statement

 by the Response Deadline, then the Customer’s ownership claim shall be deemed approved.

                 (g) The Customers may amend or supplement their Customer Statements in

 response to any Debtors’ Responses and Senior Lenders’ Responses no later than March 11, 2019.

          3.     Discovery: (a) The Customers, Debtors and Senior Lenders shall produce the

 following documents in their possession, custody, or control as soon as possible and no later than

 March 11, 2019.

          CUSTOMERS: Any Customer filing a Customer Statement shall produce all
          nonprivileged documents in their possession, custody, or control relating to: the
          Customer’s contention that such Assets belong to the Customer and not to the Debtors’
          bankruptcy estates, including without limitation, all contracts, amendments, standard
          terms, and other agreements supporting the Customers’ ownership claims; metal delivery


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          documents for the metal that is the subject of the Customers’ ownership claims; bills of
          lading, lab analyses, melting and lot forms, assays, records of payments, ledger accounts,
          and other bookkeeping records relating to the Customers’ ownership claims;
          correspondence with the Debtors or Senior Lenders regarding the Customers’ ownership
          claims; all records of tracking information for the unrefined and refined precious metals;
          the transaction history of pool accounts and tolling accounts and any additional documents
          relied upon by such Customer for its assertions in its Customer Statement. Any Customer
          asserting a security interest or lien in any Assets shall produce all nonprivileged documents
          relating to: such assertion, including without limitation, loan documents, amendments,
          intercreditor agreements, forbearance agreements, UCC-1 filings and any related lien
          perfection documents and statements of amounts due.

          DEBTORS: The Debtors shall produce all nonprivileged documents in their possession,
          custody, or control relating to: the Debtors’ contention that such Assets belong to the
          Debtors’ bankruptcy estates and not to the Customer, including without limitation: all
          contracts, amendments, standard terms, and other agreements supporting the Customers’
          ownership claims; metal delivery documents for the metal that is the subject of the
          Customers’ ownership claims; bills of lading, lab analyses, melting and lot forms, assays,
          records of payments, ledger accounts, and other bookkeeping records relating to the
          Customers’ ownership claims; correspondence with the Customer or Senior Lenders
          regarding the Customers’ ownership claims; all records of tracking information for the
          unrefined and refined precious metals; the transaction history of pool accounts and tolling
          accounts; and any additional documents relied upon by Debtors for its assertions in their
          Responses. If the Debtors assert a security interest or lien in any Assets the Debtors shall
          produce all nonprivileged documents relating to: such assertion, including without
          limitation, loan documents, amendments, intercreditor agreements, forbearance
          agreements, UCC-1 filings and any related lien perfection documents and statements of
          amounts due.

          SENIOR LENDERS: The Senior Lenders shall produce all nonprivileged documents
          received from or sent to the Debtors in their possession, custody, or control relating to: the
          Debtors’ contention that such Assets belong to the Debtors’ bankruptcy estates and not to
          the Customer. Any Senior Lender asserting a security interest or lien in any Assets shall
          produce all nonprivileged documents relating to: such assertion, including without
          limitation, loan documents, amendments, intercreditor agreements, forbearance
          agreements, UCC-1 filings and any related lien perfection documents and statements of
          amounts due; and any additional documents relied upon by the Senior Lenders for their
          assertions in their Senior Lenders’ Responses.

 If any documents are withheld due to privilege, a privilege log must be provided to the other
 parties. Privilege logs must be produced by May 16, 2019. The Parties shall not be required to
 include privileged communications with their counsel of record in these proceedings in their
 privilege logs.




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          (b) No requests for discovery will be required in connection with the foregoing
 productions. Except as otherwise ordered by the Court, nothing in Paragraph 3(a) shall be
 construed as a limitation on discovery that may be sought by any party, including without
 limitation any discovery granted under Federal Rule of Bankruptcy Procedure 7026 et seq. and
 third party discovery. Parties seeking additional discovery shall make a good faith effort to
 coordinate with other similarly situated parties before serving additional discovery requests in an
 effort to minimize duplicative requests and maximize the efficiency of the discovery process. The
 parties that serve additional discovery requests shall meet and confer in good faith with the
 recipients of such requests and if they cannot reach agreement as to the extent and scope of the
 additional discovery, the parties shall request a status conference from the Bankruptcy Court to
 discuss the requested additional discovery (the “Additional Discovery”). Any Additional
 Discovery shall be propounded as set forth below. Additional Discovery may be served via email
 upon (but must include each of the foregoing to ensure receipt of) the attorneys identified in the
 applicable Customer Statement, Debtors' Response, or Senior Lenders' Response, and c/o each
 email associated therewith .

        (c) INITIAL DISCLOSURES: Pursuant to Federal Rules of Bankruptcy Procedure 7026
 and 9014, each of the parties shall provide and file on the record their initial disclosures as required
 by Federal Rule of Civil Procedure 26(a)(1) no later than March 11, 2019.

         (d) REQUESTS FOR DOCUMENTS: Requests for the production and/or inspection of
 documents, premises, or things by any party other than the documents specified in Paragraph 3(a)
 shall be served by April 12, 2019.4 Production of documents requested pursuant to this Paragraph
 3(d) by any party shall be completed no later than May 7, 2019. Inspection of documents,
 premises, or things requested pursuant to this Paragraph 3(d) by any party shall be in accordance
 with Federal Rule of Civil Procedure 34(a)(2) and completed no later than May 7, 2019, unless
 otherwise agreed by the Debtors and the relevant Customer.

       (e) DEPOSITIONS: Deposition notices shall be served so as to be received by no later
 than May 14, 2019.

        (f) INTERROGATORIES: Interrogatories shall be served so as to be received by April
 12, 2019. Answers or any objections to interrogatories shall be served by May 7, 2019.

        (g) REQUEST FOR ADMISSION: Requests for Admission shall be served so as to be
 received by April 12, 2019. Responses and objections to Requests for Admission shall be served
 by May 7, 2019.

        (h) THIRD PARTY DISCOVERY: Subpoenas seeking discovery from third parties shall
 be served by no later than May 14, 2019.

           (h) CLOSE OF FACT DISCOVERY: All fact discovery shall be closed by August 23,
 2019.


 4
     This deadline shall not apply to any requests for documents referenced on the record during a deposition.


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         (i) EXPERT DISCLOSURE: The parties shall disclose the identity(ies) of their experts,
 if any, and exchange expert reports no later than September 6, 2019. Parties shall designate
 rebuttal experts by September 13, 2019.

        (j) EXPERT WITNESS DEPOSITIONS: Any expert depositions will be held on or
 before September 20, 2019. However, before any expert depositions are scheduled, the parties
 shall meet and confer to discuss the need for expert testimony.

       (k) CLOSE OF EXPERT DISCOVERY: All expert discovery shall be closed by
 September 20, 2019.

          (l) CLOSE OF DISCOVERY: All discovery shall be closed by September 20, 2019.

          4.      Status Conference: The parties shall appear in person or telephonically for an

 initial status conference on January 23, 2019, to report on the status of document production,

 hold a discovery conference concerning any discovery disputes, any additional discovery that may

 be required, and the scheduling of further proceedings. At the status conference, the Debtors shall

 summarize for the Court their view of the categories or “buckets” of legal issues asserted in the

 Customer Statements. Each party’s rights to summarize its own position at the status conference

 is preserved. The parties shall submit a joint status conference agenda one day before the

 conference.

          The parties shall appear in person or telephonically in Bankruptcy Court for a second

 status conference on March 7, 2019, to report on the status of document production, hold a

 discovery conference concerning discovery disputes, additional discovery that may be required,

 and the scheduling of further proceedings.

          At the second status conference, the Court will consider whether to conduct its pre-motion

 summary judgment status conference and consider entry of a summary judgment scheduling order.

          5.     Adversary Proceedings:        The parties agree that any pending adversary

 proceedings relating to ownership of Assets identified in a Customer Statement will be held in




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 abeyance pending the resolution of the Ownership Disputes pursuant to the procedures set forth in

 this Order. All discovery taken in connection with these procedures shall be deemed to have been

 taken in an adversary proceeding, without prejudice to the parties to serve formal discovery notices

 and to request additional discovery as may be appropriate, or to object to the same.

          6.    Reclamation Claims: Reclamation claims should be included in the description

 of claims set forth in Customer Statements; provided, however, nothing in this Order shall be

 construed to determine the procedure by which reclamation claims shall be resolved. Rather,

 procedures for resolution of any reclamation claims with respect to the Assets identified in a

 Customer Statement shall be subject to subsequent Court Order.

          7.    Other Claims: Nothing set forth in this Order shall prejudice, waive, or affect any

 Customer’s right to assert a claim pursuant to sections 501, 502, 503 or 506 of the Bankruptcy

 Code arising from the delivery of goods or materials to the Debtors.

          8.    Motions: Dispositive motions on the issues identified and addressed at the March

 21, 2019 status conference shall be briefed and filed by the Debtors and Senior Lenders no later

 than April 19, 2019 (the “Initial Brief”). Parties who are identified as being in Bucket 1 shall file

 a response brief to the Debtors and Senior Lenders’ Initial Brief on or before May 16, 2019 (the

 “Response Brief”). Parties who are identified as being in Bucket 1 who wish to join in the

 Response Brief shall file a joinder to the Response Brief on or before May 20, 2019 at 12:00p.m.

 Interested parties who are not classified in Bucket 1 and wish to take a position on the Initial Brief

 shall file an opposition brief to the Initial Brief on or before May 23, 2019 (the “Opposition

 Brief”). Interested parties who are not classified in Bucket 1 do not need to respond to the Fed. R.

 Civ. P. 56 supporting affidavit and none of the facts asserted in such affidavit shall be binding

 upon or prejudice such interested parties in any further proceeding in this bankruptcy case


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 including any contested matter or adversary proceeding. The Senior Lenders and Debtors shall

 file a reply brief to the Response Brief(s) and Opposition Brief(s) on or before May 30, 2019. A

 hearing on all briefs as to Bucket 1 will be heard on June 10, 2019 at 10:00a.m.

          The Debtors and Lenders shall file a brief or briefs as to Buckets 3, 4, and 5 on or before

 June 21, 2019. A status conference on the brief(s) as to Buckets 3, 4, and 5 is set for July 2, 2019

 at 11:00a.m.

          9.     Summary Judgment Motions: Unless otherwise ordered by the Bankruptcy

 Court, a party seeking to move for summary judgment must first request a pre-motion conference.

 The date and time of the pre-motion conference must be obtained from Chambers. Notice of the

 date and time of the pre-motion conference may take the form of a letter setting forth the issues in

 general terms and must be served upon all parties bound by this Order or as otherwise required in

 the Bankruptcy Code and Federal Rules of Bankruptcy Procedure. A briefing and hearing schedule

 for summary judgment motions or other dispositive motions will be set by the Court at a pre-

 motion conference. Compliance with Local Rule of Bankruptcy Procedure 7056-1 is mandatory

 and the parties to the applicable summary judgment motions shall file a joint statement of

 undisputed facts as provided in such a rule.

          10.     Evidentiary Hearing: Evidentiary hearings on the merits, as needed, will be

 set by further order of the Court. For avoidance of doubt, no party has agreed to waive its rights

 to seek a separate evidentiary hearing on its claims, and nothing herein shall be construed to impair

 such rights. However, the Debtors intend to seek consolidation for hearing and/or trial where

 common issues of law or fact are presented. The parties to each evidentiary hearing, if any, shall

 exchange witness and exhibit lists at least fourteen calendar days prior to each evidentiary hearing

 and shall meet and confer at least ten days prior to each evidentiary hearing for the purpose of


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 preparing a stipulation setting forth undisputed facts, disputed material facts, and disputed issues

 of law. The stipulation and witness and exhibit lists shall be served and filed no later than five

 days prior to an evidentiary hearing.

          11.   Settlement Procedure: Any settlement shall require Court approval pursuant to

 Federal Rule of Bankruptcy Procedure 9019 and the Debtors may file an omnibus motion for

 settlement on negative notice.

          12.    Modifications of this Order: The deadlines set forth herein cannot be changed

 unless so directed by the Court or by mutual consent in writing (including by e-mail) of the

 Debtors, the Senior Lenders, and each affected Customer. Parties should not wait for deadlines to

 expire before seeking an amended Order. If any questions should arise or another status conference

 is necessary, notify Chambers at once. Absent the applicable parties’ agreement, modifications to

 this Order may be made only upon application to the Court showing of good cause, or upon request

 for a status conference.

          13.   Confidentiality: Documents filed pursuant to this Order need not be filed under

 seal, but a filing party may request authorization from the Court to file documents under seal in

 accordance with the applicable requirements of the Bankruptcy Code and the Federal Rules of

 Bankruptcy Procedure. Parties are authorized (without the requirement of a further Court order)

 to redact confidential commercial information from any filed document. The Debtors shall set up

 a confidential document room for all discovery with private and confidential folders for each

 Customer, the Debtors and the Senior Lenders. Each Customer shall have access to the Debtors’

 production regarding such Customer and the Senior Lenders’ documents. The Debtors shall have

 access to all documents. The Senior Lenders shall have access to all Customer documents. The




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 Official Committee of Unsecured Creditors shall have access to all documents on a professional

 eyes only basis (provided that the Committee may challenge that designation).

          14.   Reservation of Rights: The implementation of the foregoing uniform procedures

 shall not in any way negatively affect the rights, claims or defenses of any parties. For the

 avoidance of doubt, the Customers’ rights with respect to the Assets shall be determined as of the

 Petition Date, and no act or omission of the Debtors after the Petition Date with respect to the

 Assets shall affect the rights of the Customers with respect thereto.

          14.   Jurisdiction: This Court shall retain jurisdiction over any application to enforce

 or interpret the provisions of this Order.

 Dated: New York, New York
        June 14, 2019

                                               /s/ Sean H. Lane
                                               HONORABLE SEAN H. LANE
                                               UNITED STATES BANKRUPTCY JUDGE




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